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FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION MAY -9 2003
SPECTRUM WT, et al, a U.S. DISTRICT COURT
. deputy
Plaintiffs, ~
v. 2:23-CV-048-Z

WALTER WENDLER, et al.,

 

Defendants.

ORDER
Before the Court is Plaintiffs’ Motion for Temporary Restraining Order (“TRO Motion”) and a
Preliminary Injunction (“PI Motion”) (collectively, “Motion”) (ECF No. 8), filed on March 24, 2023.
Since that filing, Plaintiffs withdrew their TRO Motion and filed an amended motion for preliminary
injunction which supersedes the PI Motion. See ECF Nos. 16, 30. Accordingly, the Court DENIES the
Motion as moot.

SO ORDERED.
May 7, 2023 A Gran

MATVHEW J. KACSMARYK
UNITED STATES DISTRICT JUDGE

 

US. DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT | “OR! LS. OF TEXAS
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